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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 24-CR-80011-CANNON

  UNITED STATES OF AMERICA

  vs.

  JAMIE MICHAEL LARKIN,

        Defendant.
  _______________________________________________/

        UNITED STATES’ UNOPPOSED MOTION FOR REDUCTION OF SENTENCE

         Pursuant to United States Sentencing Guidelines (“USSG”) Section 5K1.1 and Title 18,

  United States Code, Section 3553(e), the United States of America, by and through the

  undersigned Assistant United States Attorney, hereby moves for a 25% reduction in the sentence

  of the defendant listed above in order to reflect his substantial assistance in the investigation or

  prosecution of others. In support of this motion, the government states as follows:

         1.      Based on the facts of this case, as will be detailed at the sentencing hearing, the

                 defendant’s assistance warrants a reduction in his sentence pursuant to USSG '

                 5K1.1 and 18 U.S.C. § 3553(e).

         2.      Based on the Government’s agreement to a 6-month downward variance, the

                 Government’s initial recommendation was 18 months’ imprisonment. If this

                 motion is granted, the Government’s recommendation would be 13 months’

                 imprisonment. The Defendant, through counsel, does not oppose this motion but

                 wishes to argue for a greater sentence reduction. Neither the Government or the
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                Defendant are disputing the facts related to the Defendant’s cooperation. The

                Defendant is just seeking a greater sentence reduction.

         3.     The Government is aware of the Court’s Omnibus Order (DE 8) which states that

                “all motions for upward or downward departures and/or variance shall be in

                writing and filed at least ten (10) calendar days before the sentencing hearing.

                Responses shall be filed three (3) calendar days before the sentencing hearing.”

                (DE 8 at 17d.)

         4.     The Court has once re-set the sentencing hearing due to non-compliance with the

                Scheduling Order. [DE 31].

         5.     If the Court finds that this 5K1.1 motion is a further violation of the Omnibus

                Order, the Government and the defense counsel are prepared to file a joint motion

                to continue the sentencing hearing as necessary to comply with the Court’s

                Scheduling Order. 1




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   However, the Government in obtaining authority to file this motion had to also consider
  Defendant’s recent cooperation including actions within 10 days of the sentencing hearing and
  also had to await supervisor’s review and approval.
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         6.        The Defendant, through counsel, advises that Defendant is not seeking a further

                   delay in self-surrender beyond July 23, 2024.

         WHEREFORE the United States respectfully requests that this Court grant this motion.

                                                        Respectfully submitted,

                                                        MARKENZY LAPOINTE
                                                        UNITED STATES ATTORNEY

  July 19, 2024                                   By:    /s/ Timothy J. Abraham
                                                        Timothy J. Abraham
                                                        Assistant United States Attorney
                                                        Florida Bar No. 114372
                                                        99 Northeast 4th Street
                                                        Miami, Florida 33132-2111
                                                        Tel: (305) 961-9438
                                                        Fax: (305) 536-4699
                                                        Timothy.Abraham2@usdoj.gov

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF on July 19, 2024, and a copy was provided to all counsel of record

  by that means.



                                                        /s/ Timothy J. Abraham
                                                        Assistant United States Attorney
